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1                                                          Judge Franklin D. Burgess
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6
                             UNITED STATES DISTRICT COURT
7                           WESTERN DISTRICT OF WASHINGTON
                                      AT TACOMA
8
     UNITED STATES OF AMERICA,        )
9                                     )              NO. CR05-5828FDB
                      Plaintiff,      )
10                                    )
                      v.              )              ORDER TO SEAL
11                                    )
     BRIANA WATERS,                   )
12                                    )
                      Defendant.      )
13   _________________________________)
14          The Court having considered the Government’s Motion to Seal, requesting that the
15   Government’s Response to Defendant’s Motion to Bar Testimony of Jennifer Kolar and
16   Lacey Phillabaum in this case be sealed,
17          It is hereby ORDERED that Government’s Response to Defendant’s Motion to
18   Bar Testimony of Jennifer Kolar and Lacey Phillabaum be and remain sealed until further
     order of this Court.



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20          DATED this 26th day of April, 2007.
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                                                FRANKLIN D. BURGESS
23                                              UNITED STATES DISTRICT JUDGE
     Presented by:
24
     s/Mark Bartlett
25   MARK BARTLETT
26
     First Assistant United States Attorney
     s/Andrew C. Friedman
27
     ANDREW C. FRIEDMAN
28   Assistant United States Attorney

                                                                           UNITED STATES ATTORNEY
                                                                           700 STEWART STREET, SUITE 5220
                                                                            SEATTLE, WASHINGTON 98101
     ORDER/WATERS (No. CR05-5828FDB) - 1                                           (206) 553-7970
